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    Entered on Docket
   5July 05, 2023
___________________________________________________________________
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  12   Tel: 725.777.3000
       Attorneys for Michael Carmel,
  13   Chapter 11 Trustee
  14                        UNITED STATES BANKRUPTCY COURT
  15                                  DISTRICT OF NEVADA
  16   In re:                                       CASE NO. BK-21-14978-ABL
  17                                                Chapter 11
       SILVER STATE BROADCASTING, LLC,
  18                                                Jointly Administered with:
          AFFECTS THIS DEBTOR
  19                                                Golden State Broadcasting, LLC
          AFFECTS GOLDEN STATE
          BROADCASTING, LLC                         Case No. 21-14979-ABL
  20
         AFFECTS MAJOR MARKET                       Major Market Radio, LLC
  21                                                Case No. 21-14980-ABL
         RADIO, LLC
  22
         AFFECTS ALL DEBTORS
                                                    Hearing Date: July 07, 2023
  23                                                Hearing Time: 1:30 P.M.
  24
          NOTICE OF HEARING AND ORDER SHORTENING TIME ON EMERGENCY
  25    MOTION FOR INTERIM AND FINAL ORDERS: (A) AUTHORIZING THE DEBTORS
            TO OBTAIN POST-PETITION FINANCING, (B) GRANTING LIENS AND
  26       PROVIDING ADMINISTRATIVE EXPENSE STATUS, AND (C) GRANTING
                                 RELATED RELIEF
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 1           Michael Carmel, in his capacity as the Chapter 11 trustee (“Trustee”) of the bankruptcy

 2   estates of Silver State Broadcasting, LLC, Golden State Broadcasting, LLC, and Major Market

 3   Radio, LLC filed his Emergency Motion for Interim and Final Orders: (A) Authorizing the

 4   Debtors to Obtain Post-Petition Financing, (B) Granting Liens and Providing Administrative

 5   Expense Status and (C) Granting Related Relief (“Motion”) on June 29, 2023.

 6           In the Motion, the Trustee seeks entry of interim and final orders substantially in the

 7   forms attached to the Motion as Exhibits 1 and 2 pursuant to Sections1 105, 361, 364, and 507,

 8   Bankruptcy Rules 2002, 4001, 6004, and 9014, and Local Rule 4001 seeking to obtain secured

 9   post-petition financing in the amount of $342,000, with $51,700 paid on an emergency basis.

10           The Court, having considered the Ex Parte Application for Order Shortening Time to

11   Hear Emergency Motion for Interim and Final Orders: (A) Authorizing the Debtors to Obtain

12   Post-Petition Financing, (B) Granting Liens and Providing Administrative Expense Status and

13   (C) Granting Related Relief (“Ex Parte Application”) and good cause appearing therefore,

14           IT IS HEREBY ORDERED and notice is hereby given that the Motion shall be heard

15                                               7
     by a United States Bankruptcy Judge on the _____ day of July, 2023, at _____ p
                                                                             1:30 __.m. prevailing

16   Pacific Time. A copy of the above-referenced Motion and any supporting declaration(s) and

17   exhibit(s) are on file with the Clerk of the United States Bankruptcy Court for the District of

18   Nevada, Foley Federal Building and United States Courthouse, 300 South Las Vegas Boulevard,

19   Las Vegas, Nevada 89101, or may be obtained by emailing Talitha Gray Kozlowski, Esq. at the

20   address listed above. If you intend to participate at this hearing please check the Court’s website

21   prior to the hearing for any updated instructions relating to the whether the hearing is in person,

22   or conducted remotely including the applicable Court participation number and access code.

23   You may view the Court Calendar at: https://www.nvb.uscourts.gov/calendars/court-calendars/.

24           IT IS HEREBY FURTHER ORDERED that service of this Order Shortening Time

25   shall be served within ___
                             1 days of entry; that any opposition to the Motion must be filed and
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       Unless otherwise stated, all references to “Section” herein shall be to title 11 of the U.S. Code (the “Bankruptcy
27   Code”); all references to a “Bankruptcy Rule” shall refer to the Federal Rules of Bankruptcy Procedure; and all
     references to a “Local Rule” shall refer to the Local Rules of Bankruptcy Practice of the U.S. District Court for the
28   District of Nevada.


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 1   served by July 07, 2023             ; that replies to any opposition filed must be filed and

 2   served by July 07, 2023             ; and that these hearings may be continued from time to

 3   time without further notice except for the announcement of any adjourned dates and times at the

 4   above noticed hearing or any adjournment thereof.

 5          IT IS SO ORDERED.

 6   Prepared and Submitted by:
     GARMAN TURNER GORDON LLP
 7
     By: /s/ Gregory E. Garman
 8      GREGORY E. GARMAN, ESQ.
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       Attorneys for Michael Carmel, Chapter 11 Trustee
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